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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
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                                                            NEW ORLEANS, LA 70130

                              May 17, 2023


Mr. Jonathan F. Mitchell
111 Congress Avenue
Suite 400
Austin, TX 78701-0000

      No. 23-50224     Little v. Llano County
                       USDC No. 1:22-CV-424


Dear Mr. Mitchell,
You must submit the 4 paper copies of your record excerpts required
by 5th Cir. R. 30.1.2 via overnight delivery to 5th Cir. ECF Filing
Standard E.1. We remind attorneys that the paper copies of record
excerpts filed with the court must contain physical tabs that
extend beyond the edge of the document to facilitate easy
identification and review of tabbed documents. See 5th Cir. R.
30.1.7(c).


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
cc:
      Ms. Marissa Benavides
      Mr. Max Bernstein
      Mr. Matthew Borden
      Mr. Ryan A. Botkin
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